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 17-17) (Part 17-17) March 27, 2025, Appellants' Memorandum of la~                ER c ierk
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analysis of Judge Sand's Dec. 20, 2007, voluntary Rule 4l(a)(2) fimalJu     n s
Jegal consequences on Appellees KTS, its clients, its partners, ~rivies, Rro 1es,
surrogates, alter-egos, and all those in active concert therewith,



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                                Friday, March 28 , 2025, 1:06:33 PM




Re: Memorandum (#9) re: Appellants' Amplified
Analysis--Absolute Prohibition on Reliance Upon
Annulled Aspects of 02cv2219 (SONY) Inconsistent
with the Controlling Preclusive Effect of Judge Sand's
Dec. 20, 2007, Dkt. 90, Voluntary Rule 41(a)(2) Final
Judgment. [JSAR Dkt. 5-13 on pages 46-47].
Respectfully submi tted this 28 th day of March 2025.

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By: Isl Ulysses T. Ware

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I. INTRODUCTION
       This memorandum provides an amplified and rigorous analysis of Appellants' core legal
proposition: that the conclusive and binding effect of Judge Sand's December 20, 2007, Rule
41(a)(2) Final Judgment entered with prejudice in 02cv2219 (S.D.N.Y.) ("2007 Final
Judgment"), Dkt. 90, [JSAR, Dkt. 5-13 , pp. 46-47] operates as an absolute bar, precluding
Appellees, their privies, the 03-93031 Bankruptcy Court (Judges Hagenau and Ellis-Monro), and
this 25cv00613 District Court (acting in its appellate capacity) from relying upon, utilizing, or
arguing any position predicated on any facts, arguments, issues, claims, interlocutory orders, or
purported prior judgments originating from the 02cv2219 (SDNY) litigation that contradict,
undermine, negate, or otherwise conflict with the judgment's absolute preclusive force. 1

        This prohibition specifically invalidates reliance on the purported factual findings and legal
conclusions contained within Bankruptcy Court Orders reflected in this appeal's record at Dockets
5-7, 5-8, 5-9, and 5-10, as those orders were predicated on a fundamental failure to recognize and
apply the controlling res judicata effect of the 2007 Final Judgment against Appellees herein.

II. THE UNASSAILABLE HIERARCHICAL PRIMACY AND
PRECLUSIVE FORCE OF JUDGE SAND'S RULE 41(a)(2) 2007
FINAL JUDGMENT.
The legal analysis begins and ends with the absolute dispositive effect of Judge Sand's voluntary
Rule 41 (a)(2) 2007 Final Judgment.

    1. Final Adjudication "On the Merits" With Prejudice: The Dec. 20, 2007, Dkt. 90,
       voluntary dismissal procured by the 02cv2219 Plaintiffs (Appellees/privies herein) under
       Rule 41(a)(2) with prejudice, strategically obtained after the expiration of all applicable
       statutes of/imitation , constitutes an w1equivocal final adjudication "on the merits." Semtek
       Int 'l Inc. v. Lockheed Martin Corp. , 531 U.S. 497, 505-06 (2001 ). This is not a procedural
       dismissal leaving the door open for future litigation; it is a substantive resolution carrying
       the full weight and finality of a judgment rendered after a full trial on the merits. Its
       voluntary nature, when coupled with the "with prejudice" designation, amplifies, rather
       than diminishes, its conclusive effect, representing a deliberate forfeiture, termination, and
       extinguishment of all claims in the 02cv2219 lawsuit.


1
  Such final judgment, obtained pursuant to Rule 4l(a)(2), operates as a final adiudication on the merits,
thereby barring any subsequent attempt to resurrect or re-litigate the same or related issues once
conclusively determined. See Federated Dep't Stores, Inc. v. Moitie, 452 U.S. 394, 398-99 (1981). This
principle applies with full force to all claims or arguments, whether previously raised or that could have
been raised, and forecloses any contradictory positions in later proceedings. Parties and privies are strictly
bound by this preclusive effect, thus preventing relitigation of facts. issues. or orders in conflict with the
2007 Final Judgment. Hence, finality.


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    2. Res Judicata's Absolute Bar on all Claims and Issues: As a final judgment on the merits,
       Judge Sand's Rule 41(a)(2) 2007 Final Judgment irrevocably triggers the comprehensive
       bar of res judicata (claim preclusion). This doctrine absolutely prohibits the 02cv22 l 9
       Plaintiffs and their privies (including all Ap_Qellees identified in Memo #7) from ever again
       asserting the same cause of action "derived from the pleaded nucleus of operative facts -
       encompassing any and all alleged claims, demands, or rights arising from the Predatory
       Criminal Usury Subject Matter Instruments (GX 1-4, GX 5)- that were actually raised or,
       critically, could have been raised in the 02cv2219 SDNY litigation. Federated Dep't
       Stores, Inc. v. Moitie, 452 U.S. 394, 398 (1981); Brown v. Fe/sen, 442 U.S . 127, 131 (1979)
       ("Res judicata prevents litigation of all grounds for, or defenses to, recovery that were
       previously available to the parties, regardless of whether they were asserted or determined
       in the prior proceeding.").
    3. Extinguishment of Legal Rights: The direct legal consequence of Judge Sand's voluntary
       Rule 4l(a)(2) 2007 Final Judgment was the complete, permanent, and irrevocable
       extinguishment of any legally cognizable claim or right Appellees might have arguably
       possessed against Appellants arising from GX 1-4 and GX 5.
    4. For all legal purposes · elevant to all future litigation between these parties and their
       privies, all those claims, facts, issues, causes of action, rulings, orders, and judgments
       directly and/or indirectly (actually or necessarily) related to or derivative of the
       02cv2219 (SDNY) lawsuit were "forever" (Federated, 452 U.S. at 401-02) legally
       "annulled and vitiated" (A.B. Dick, 197 F.2d at 501-02) and by operation of law, ipso
       facto, legally ceased to exist as of December 20, 2007, and lack all preclusive effect and
       value. Steel Co. , 523 U .S. at 93-95.

III. THE DISTINCTION: LIMITED INTERNAL ANNULMENT vs.
CONTROLLING EXTERNAL PRECLUSION.
The "annulment" doctrine, derived from cases like A.B. Dick Co. v. Marr, 197 F.2d 498 (2d Cir.
1952), does not override the preclusive force of a final judgment entered with prejudice.

    I . Annulment's Scope: Annulment applies primarily to the internal procedural effects
        within the dismissed case (02cv2219). It means prior interlocutory orders ( e.g., discovery
        rulings, non-dispositive motions) made before the final dismissal lack independent legal
        force after the case's termination. It prevents parties from selectively picking non-final
        rulings from a dismissed case and treating them as binding law. See L-3 Commc'ns EOTech,
        Inc. , 921 F.3d 11, 18-19 (2d Cir. 2019).
    2. Final Judgment with Prejudice Survives Annulment: The annulment doctrine does not
        annul or vitiate the final judgment itself when that judgment is a dismissal with prejudice.
        The dismissal with prejudice is the definitive act that creates the final judgment and its
        attendant res judicata effects. It is the legally operative event that dictates the future
        relationship between the parties regarding the extinguished claims.
    3. Res Judicata Governs Subsequent Litigation: While annulment nullifies prior
        interlocutory steps within 02cv22 l 9, res judicata governs the external binding effect of the


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        2007 Final Judgment on subsequent cases like 03-93031 and 25cv00613. The final
        judgment's preclusive effect dictates what can (or cannot) be litigated in these later
        proceedings.

IV. THE ABSOLUTE PROHIBITION ON RELIANCE ON
ANNULLED OR SUPERSEDED ELEMENTS OF 02cv2219 IS
INCONSISTENT WITH JUDGE SAND'S 2007 FINAL
JUDGMENT.
Given the supremacy of the 2007 Final Judgment's res judicata effect, the following prohibitions
are legally mandated:

    1. No Reliance Permitted on Contradictory Elements: Neither Appellees, the 03-93031
       Bankruptcy Court, nor this 25cv00613 District Court may rely upon, cite, argue, or give
       any legal effect or weight to any alleged facts, previously advanced arguments, purportedly
       decided issues, or annulled interlocutory orders originating from the 02cv2219 SDNY
       litigation if such reliance is inconsistent with or attempts to circumvent the conclusive legal
       fact established by the 2007 Final Judgment: that Appellees possess no legally
       enforceable claim against Appellants arising from GX 1-4 and GX 5.
    2. Such Reliance Constitutes an Impermissible Collateral Attack: Any attempt by
       Appellees or any court to utilize superseded or annulled aspects of the 02cv2219
       proceedings to implicitly or explicitly validate Appellees' extinguished claims constitutes
       an impermissible collateral attack on the 2007 Final Judgment. The principles of finality
       and res judicata strictly forbid parties from selectively using defunct interlocutory rulings
       or arguments from a prior dismissed action to undermine the conclusive effect of the final
       judgment rendered therein. See Federated, 452 U.S. at 398; Celotex Corp. v. Edwards, 514
       U.S. 300, 313 (1995) (emphasizing the general unavailability of collateral attacks on
       judgments).
    3. Specific Invalidity of Reliance on Dkts. 5-7 to 5-10 (Bankruptcy Court Orders): The
       orders issued by the Bankruptcy Court (Chief Judge Hagenau and Judge Ellis-Monro),
       reflected in the current appellate record at Dockets 5-7, 5-8, 5-9, and 5-10, are
       demonstrably flawed and legally erroneous to the extent they rely upon or proceed from
       the premise that Appellees retained any viable claims or standing related to GX 1-4/GX 5
       after December 20, 2007.

           a) Failure to Apply Controlling Precedent: These Bankruptcy Court orders,
              particularly the substantive analysis in Dkt. 5-7 (Hagenau, C.J., Oct. 24, 2022),
              engage in analysis regarding Appellants' filings and the history of the bankruptcy
              case (e.g. , effect of the 2003 dismissal, standing of "Subscribers" in 2003) while
              fundamentally failing to recognize and apply the dispositive, controlling legal
              effect of the 2007 SONY Final Judgment against the Appellees . The analysis in
              Dkt. 5-7, for example, discusses standing in 2003 (p. 27) and the effect of the 2003
              dismissal (p. 23) but completely ignores that the Appellees' underlying claims were

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              subsequently extinguished with prejudice by their own voluntary action in 2007,
              rendering any discussion of their prior standing moot and legally irrelevant to their
              current status.
           b) Reliance on Legally Erroneous Predicate: Judge Ellis-Monro's subsequent
              orders (Dkts. 5-9, 5-10) expressly adopt and rely upon Judge Hagenau's flawed
              analysis in Dkt. 5-7. By predicating their rulings on a failure to give effect to the
              2007 Final Judgment, these Bankruptcy Court orders are legally erroneous. They
              attempt to breathe life into claims that are legally defunct due to res judicata.
           c) Lack of Authority to Contradict Final Judgment: The Bankruptcy Court
              possessed no jurisdiction or authority to issue orders that contradict or effectively
              nullify the binding res judicata effect of a final judgment entered by a coordinate
              federal court (S.D.N.Y.). Orders Dkts. 5-7 through 5-10, therefore, cannot serve as
              a legitimate basis for Appellees' continued participation, arguments, or purported
              standing in this appeal concerning the extinguished claims. They are themselves
              tainted by the failure to respect the 2007 Final Judgment.

V.      SUMMARY
    The rule of law is irrefutable, definitively, and conclusively on Dec. 20, 2007, Dkt. 90, upon
the late Honorable Leonard B. Sand's entry of the plaintiffs' (Appellee KTS' clients in 03-93031,
see Dkt. 5-2) voluntary Rule 4l(a)(2) dismissal with prejudice in Case No. 02cv2219 (S.D.N.Y.),
a conclusive final judgment was rendered, triggering not only the absolute bar of res judicata but
also the jurisprudential principle often described as the "annulment" of prior, non-final proceedings
and interlocutory orders within that specific, terminated action.

    A voluntary dismissal under Rule 4 l(a)(2) culminated in a final judgment with prejudice,
particularly following substantial litigation activity, operates as a definitive adjudication on the
merits, effectively extinguishtng the dismissed suit ab initio for internal procedural purposes. This
leaves no viable legal foundation upon which previously filed pleadings, motions, or preliminary,
non-dispositive orders entered within that action [02cv22 I 9 (SONY)] can stand independently
or carry forward any binding legal force derived solely from their issuance in the dismissed
case. See U.S. v. L-3 Commc 'ns EOTech, Inc., 921 F.3d 11, 18-19 (2d Cir. 2019) (discussing the
effect of vacatur and dismissal rendering prior proceedings moot); A .B. Dick Co. v. Marr, 197 F.2d
498, 502 (2d Cir. 1952) (voluntary dismissal "leaves the situation ... as though the suit had never
been brought; thus vitiating and annulling all prior proceedings and orders in the case ... ").

     1. Effect on the 02cv2219 (SDNY) Complaint and Claims Therein: As a direct legal
        consequence of Judge Sand's Rule 41(a)(2) voluntary dismissal with prejudice, all claims
        and allegations asserted within the 02cv2219 Plaintiffs' complaint were definitively
        extinguished and rendered legally moot for all purposes related to that specific forum and
        all other proceedings which relied in whole and/or in part on the annulled proceedings,
        orders, or judgments therein. No party, including Appellees herein or their privies, may
        subsequently reassert those specific, extinguished claims, assertions, allegations, or rulings
        as if they remained pending or viable within the 02cv22 l 9 action, nor may they rely upon

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        the annulled complaint or its allegations as possessing any precedential, collateral
        estoppei, or "law of the case" effect derived from the dismissed proceeding. The dismissal
       with prejudice operates as a conclusive determination against the merits and all allegations,
       rulings, orders, and judgments entered on the claims presented in that complaint.
    2. Impact on KTS' Bankruptcy Filings (Dkt. 5-2, 5-3, 5-4, 5-6) Predicated on 02cv2219:
       Appellee KTS's submissions in the Chapter 11 proceeding (Case No. 03-93031 ), including
       its Notice of Appearance falsely designating its clients as "creditors" [Dkt. 5-2], its
       Opposition to rejection predicated on the validity of GX 1-4/GX 5 [Dkt. 5-4], and its
       Motions to Dismiss grounded in " . .. evading SDNY orders .... " [Dkts. 5-5, 5-6],
       frequently referenced or were implicitly dependent upon the purported validity of claims
       or the effect of interlocutory orders originating from the 02cv2219 litigation.2 Following
       the 2007 Final Judgment dismissing 02cv2219 with prejudice, any "live" controversy
       deriving solely from that specific SDNY proceeding was extinguished. Consequently,
       KTS' subsequent reliance upon, or attempts to enforce, any "outstanding" interlocutory
       orders, partial findings , or the underlying claims from the annulled 02cv2219 action within
       the 03-93031 bankruptcy case became legally untenable. Such interlocutory orders or
        provisional determinations from the dismissed with preiudice 02cv2219 SDNY case are
        legally prohibited and precluded from being treated as final, binding, conferring any
        preclusive effect, or capable of supporting Appellees' claims or standing in the
        subsequent 03-93031 Chapter llbankruptcy proceeding, or the 25cv00613 (NDGA)
        apJ!.eali as th~ were vitiated bJ! the final dismissal ol,. the action bf!m which thPY. arose.
       The external preclusive effect of Judge Sand's Rule 4l(a)(2) final judgment itself,
       however, remains controlling in 02cv2219, 03-93031 , 04cr1224, 05cr1115, 25cv00613 ,
       and In re Ware (2008) Supreme Court of Georgia.
    3. Effect on UST's Pleadings (Dkt. 5-1, 5-3) Referencing 02cv2219: Similarly, the United
       States Trustee's submissions in the 03-93031 proceeding, including its Notice of
       Appearance [Dkt. 5-1] and its Motion to Dismiss [Dkt. 5-3], which referenced the
       02cv22 l 9 SDNY litigation, lose any legal force or relevance derived directly and solely
       from the p endency or interlocutory rulings of the now-annulled 02cv22 l 9 SDNY suit. Any
       legal impetus the UST's arguments drew specifically from non-final determinations within
       the 02cv2219 case was extinguished with absolute finality because the Rule 4l(a)(2)
       dismissal with prejudice effectively "unwinds" all provisional, non-final determinations
       internal to that dismissed action, leaving only Judge Sand's Dec. 20, 2007, Dkt. 90, Rule
       41 (a)(2) final judgment's external preclusive effect intact. There is no other legal
       instrument having preclusive effect associated with the 02cv2219 proceeding. A.B. Dick,
       197 F.2d at 501-02.



2
  See Dkt. 5-5, and Dkt. 5-6, Ex. A and Ex. B- KTS referenced-then ultra vires, and moot, and now
voluntarily annulled and vitiated by its predatory unregistered broker-dealer clients, their prior proceedings,
orders, and judgments taken in the then and now ultra vires and moot 02cv22 l 9 lawsuit in support of its
and its clients ' known to be, or recklessly and negligently not known to be risible, frivolous , fraudulent,
vexatious, bad faith, and manifestly moot positions. See Bankr. Rule 9011(6)(1-4) and 28 USC § 1927
requirements.

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        In summation, Judge Sand's Rule 41(a)(2) Final Judgment definitively concluded the
02cv2219 (SDNY) litigation, triggering both the absolute external bar of res judicata against
Appellees' claims and the internal annulment of prior interlocutory proceedings within that specific
case. Consequently, no Appellee, or court, may lawfully invoke the dismissed complaint's
allegations or any related non-final, interlocutory orders from the 02cv22 l 9 action as if they
retained independent legal force or precedential value subsequent to the final dismissal with
prejudice. The controlling legal reality is defined solely by the final judgment's conclusive
extinguishment of Appellees' claims.

VI. CONCLUSION
        Judge Sand ' s irrefutable voluntary Rule 41(a2(2) December 20, 2007, Final Judgment in
02cv2219 (SDNY) stands as an insurmountable legal barrier, erected by Appellees themselves,
precluding and prohibiting any assertion of rights or claims by Appellees or their privies arising
from the Predatory Criminal Usury Subject Matter Instruments (GX 1-4, GX 5). The annulment
doctrine pertaining to the internal proceedings of 02cv2219 does not diminish the external,
controlling force of this final judgment's res judicata effect. Consequently, any reliance by
Appellees, the Bankruptcy Court (specifically in orders Dkts. 5-7 through 5-10), or this Court on
any aspect of the 02cv2219 or 03-93031 litigation inconsistent with the conclusive extinguishment
of Appellees' claims is absolutely prohibited. Such reliance constitutes an impermissible collateral
attack on a final judgment, and ignores the fundamental jurisdictional prerequisite of Article III
standing, which Appellees manifestly lack. The 2007 Final Judgment must be given its full ,
controlling preclusive effect in these proceedings. See 28 USC § 1738.



Respectfully submitted this 28 th day of March 2025 .

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Attorney in Fact for Appellants




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               Declaration of Filing and Service Pursuant to 18 U.S.C. § 2071(a), (b)

I, Ulysses T. Ware, attorney in fact for the Appellants, hereby declare under penalty of perjury
pursuant to 28 U.S .C. § 1746, that the foregoing memorandum and the attached Declaration (17-
17) (Part 17-17) constitute a judicial pleading submitted to the Office of the District Clerk's
possession for filing and docketing in Case No. 1:25-cv-00613-MLB, on this 28th day of March,
2025; and all Appellees, and their legal counsels ofrecord have been served on March 28, 2025,
with a copy of the foregoing (17-17) (Part 17-17).


I I     lysses T. War~ . (
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      yZ ,Ware, attorney in fact for the Appellants




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